              Case 2:20-bk-52894                  Doc 1     Filed 06/11/20 Entered 06/11/20 11:21:29                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Belgian Wafle Iron LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  19 W. Russell St.                                               596 Catawba Ave.
                                  Columbus, OH 43215                                              Westerville, OH 43081
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Franklin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  596 Catawba Ae. Westerville, OH 43081
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    The Belgian Wafle Iron LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   The Belgian Wafle Iron LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    The Belgian Wafle Iron LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 10, 2020
                                                  MM / DD / YYYY


                             X   /s/ Aimee & Brandon Harper                                               Aimee & Brandon Harper
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Members




18. Signature of attorney    X   /s/ Ronald A. Wittel, Jr.                                                 Date June 10, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ronald A. Wittel, Jr. 0078689
                                 Printed name

                                 Ronald A. Wittel, Jr.
                                 Firm name

                                 Attorney at Law
                                 1141 South High St.
                                 Columbus, OH 43206
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (614) 445-3000                Email address      rwittel3@yahoo.com

                                 0078689 OH
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Statement Regarding Authority to Sign and File Petition

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 10, 2020                           X /s/ Aimee & Brandon Harper
                                                                       Signature of individual signing on behalf of debtor

                                                                       Aimee & Brandon Harper
                                                                       Printed name

                                                                       Members
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           150,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           294,416.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           444,416.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $              6,135.70


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,628.64

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           909,240.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             925,004.87




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                               $163,489.40
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                                 $74,735.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                               $152,481.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       The Belgian Wafle Iron LLC                                                                Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    The Belgian Iron Wafle                            Civil                      Franklin County Court of                     Pending
               Company LLC v. Windsor                                                       Common Pleas                                 On appeal
               Construction                                                                 Civil Division
                                                                                                                                         Concluded
               20 CV 001127                                                                 345 South High St., 1st Floor
                                                                                            Columbus, OH 43215


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.


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           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Ronald A. Wittel, Jr.
                 Attorney at Law
                 1141 South High St.
                 Columbus, OH 43206                                  Attorney Fees                                             2020                        $800.00

                 Email or website address
                 rwittel3@yahoo.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To


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 Debtor        The Belgian Wafle Iron LLC                                                               Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     596 Catawba Ave.                                                                                          Dec. 2016 to June 2018
                 Westerville, OH 43081

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor      The Belgian Wafle Iron LLC                                                                 Case number (if known)




          None

       Facility name and address                                      Names of anyone with                Description of the contents        Do you still
                                                                      access to it                                                           have it?
       Brandon & Aimee Harper's Residence                             Brandon & Aimee Harper              Various restaurant equipment.          No
       596 Catawba Ave.                                                                                                                          Yes
       Westerville, OH 43081



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                 Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 2:20-bk-52894                        Doc 1           Filed 06/11/20 Entered 06/11/20 11:21:29                                 Desc Main
                                                                     Document      Page 12 of 33
 Debtor      The Belgian Wafle Iron LLC                                                                 Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       MPS Financial                                                                                                              2016 to the present.
                    1933 E. Dublin Granville Rd.                                                                                               Demetra Sanderfer
                    Columbus, OH 43229                                                                                                         (614)893-1893

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Aimee and Brandon Harper                       596 Catawba Ave.                                    Aimee & Brandon Harper are                    1/3 interest to
                                                      Westerville, OH 43081                               members with Bohicket                         each member.
                                                                                                          Investments LLC.


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      The Belgian Wafle Iron LLC                                                                 Case number (if known)




            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 10, 2020

 /s/ Aimee & Brandon Harper                                              Aimee & Brandon Harper
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Members

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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            Case 2:20-bk-52894                        Doc 1           Filed 06/11/20 Entered 06/11/20 11:21:29                         Desc Main
                                                                     Document      Page 14 of 33
 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     US Bank                                                 Checking                        9159                                         $58.90



                    Union Bank
           3.2.     Negative Balance $1,815.00                              Checking                        3875                                             $0.00




           3.3.     First Commonwealth Bank                                 Checking                                                                     $35.00




           3.4.     US Bank                                                 Checking                        8499                                             $2.60



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $96.50
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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            Case 2:20-bk-52894                        Doc 1           Filed 06/11/20 Entered 06/11/20 11:21:29               Desc Main
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 Debtor           The Belgian Wafle Iron LLC                                                  Case number (If known)
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Lease Deposit                                                                                                        $1,500.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $1,500.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory                                  6/10/2020                             $0.00    Comparable sale                   $15,520.00


           Cleaning Sanitizer Station
           & Rugs (Lease)                             1/20/2020                             $0.00    Comparable sale                      Unknown




 23.       Total of Part 5.                                                                                                        $15,520.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         The Belgian Wafle Iron LLC                                                       Case number (If known)
                Name

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           High Temp Commercial Dishwasher (Lease)                                             $0.00    Comparable sale                     $2,300.00



 51.       Total of Part 8.                                                                                                             $2,300.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         The Belgian Wafle Iron LLC                                                    Case number (If known)
                Name


        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Lease has value due to
                     improvements,
                     location, and
                     discounted lease
                     amount.
                     Debtor has 2 offers on
                     the property right now,
                     and they accepted
                     letter of intent.                    100% interest              $150,000.00       Comparable sale                   $150,000.00




 56.        Total of Part 9.                                                                                                           $150,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Liquor License                                                            $25,000.00       Comparable sale                    $25,000.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                           $25,000.00
            Add lines 60 through 65. Copy the total to line 89.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         The Belgian Wafle Iron LLC                                                   Case number (If known)
                Name



 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Cause of Action against 3rd Parties
            -Windsor Construction Services                                                                                           $250,000.00
            Nature of claim          Breach of Contract
            Amount requested                       $250,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Lawsuit Against Constuction Company
            -Windsor Construction Services failed to complete the
            remodel of the space, and they only completed 25% of the
            space. Debtor had to hire someone else to complete the
            space. Debtors estimate they lost $250,000 in getting the
            remodel completed.                                                                                                           Unknown
            Nature of claim           Civil
            Amount requested                               $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                     $250,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor         The Belgian Wafle Iron LLC                                                   Case number (If known)
                Name


               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 6
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 Debtor          The Belgian Wafle Iron LLC                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $96.50

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,500.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $15,520.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,300.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $150,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $25,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $250,000.00

 91. Total. Add lines 80 through 90 for each column                                                            $294,416.50           + 91b.              $150,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $444,416.50




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 7
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            Case 2:20-bk-52894                        Doc 1           Filed 06/11/20 Entered 06/11/20 11:21:29                                Desc Main
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 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Cintas                                         Describe debtor's property that is subject to a lien                     $5,076.00                 Unknown
       Creditor's Name                                Cleaning Sanitizer Station & Rugs (Lease)
       1275 Research Rd.
       Columbus, OH 43230
       Creditor's mailing address                     Describe the lien
                                                      Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3986
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Eco Lab                                        Describe debtor's property that is subject to a lien                     $1,059.70                $2,300.00
       Creditor's Name                                High Temp Commercial Dishwasher (Lease)
       P.O. Box 32027
       New York, NY 10087
       Creditor's mailing address                     Describe the lien
                                                      Leased Dishwasher
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1955
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       The Belgian Wafle Iron LLC                                                        Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $6,135.70

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                                                     Document      Page 23 of 33
 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $604.62        $604.62
           IRS- Bankruptcy Division                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Notice of Bankruptcy Filing
           Last 4 digits of account number 9270                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $9,024.02         $9,024.02
           Ohio Department of Taxation                               Check all that apply.
           P.O. Box 2678                                                Contingent
           Columbus, OH 43216                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Taxes
           Last 4 digits of account number 9942                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 5
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            Case 2:20-bk-52894                        Doc 1           Filed 06/11/20 Entered 06/11/20 11:21:29                                     Desc Main
                                                                     Document      Page 24 of 33
 Debtor       The Belgian Wafle Iron LLC                                                              Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,230.00
          ADT Security                                                          Contingent
          P.O. Box 37878                                                        Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Collections
          Last 4 digits of account number       0742
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,000.00
          Aimee Harper                                                          Contingent
          596 Catawba Ave.                                                      Unliquidated
          Westerville, OH 43081                                                 Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Capital Contribution
          Last 4 digits of account number       3402
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,252.98
          American Express                                                      Contingent
          P.O. Box 0001                                                         Unliquidated
          Los Angeles, CA 90096                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       1008
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $67,700.00
          Bohicket Investments LLC                                              Contingent
          8530 Preston Mill Ct.                                                 Unliquidated
          Dublin, OH 43017                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       3402
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $108,801.00
          Brandon Harper                                                        Contingent
          596 Catawba Ave.                                                      Unliquidated
          Westerville, OH 43081                                                 Disputed
          Date(s) debt was incurred      2017                                Basis for the claim:    Capital Contribution & Operating Funds to Keep Business
          Last 4 digits of account number       3986                         Running
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $692.75
          Cintas                                                                Contingent
          1275 Research Rd.                                                     Unliquidated
          Columbus, OH 43230                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Collections
          Last 4 digits of account number       5546
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,454.10
          City of Columbus Department of Pub. Util                              Contingent
          910 Dublin Rd.                                                        Unliquidated
          Columbus, OH 43215                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number 9688
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 5
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 Debtor       The Belgian Wafle Iron LLC                                                              Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $220.00
          City of Columbus License Section(Alarm)                               Contingent
          4252 Groves Rd.                                                       Unliquidated
          Columbus, OH 43232                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number 7413
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $379.69
          Columbia Gas                                                          Contingent
          P.O. Box 4629                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       0007
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $337.50
          Erie Insurance                                                        Contingent
          100 Erie Insurance Place                                              Unliquidated
          Erie, PA 16530                                                        Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       8608
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Franklin County Court of Common Pleas                                 Contingent
          Civil Division                                                        Unliquidated
          345 South High St., 1st Floor                                         Disputed
          Columbus, OH 43215
                                                                                             Notice of Bankruptcy Filing
                                                                             Basis for the claim:
          Date(s) debt was incurred 2020
                                                                             For Notice Purposes Only
          Last 4 digits of account number 1127
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,473.10
          Green Sky                                                             Contingent
          P.O. Box 2153                                                         Unliquidated
          Birmingham, AL 35287                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       4915
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          High Street Limited Partnership                                       Contingent
          930 N. High St.                                                       Unliquidated
          Columbus, OH 43201                                                    Disputed
          Date(s) debt was incurred 2017
                                                                                             Collections
                                                                             Basis for the claim:
          Last 4 digits of account number 3402                               For Notice Purposes Only
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          LAZ Parking                                                           Contingent
          15 Lewis St., 5th Fl.                                                 Unliquidated
          Hartford, CT 06103                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Collections
          Last 4 digits of account number       4153
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 5
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 Debtor       The Belgian Wafle Iron LLC                                                              Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $389.92
          Ohio BWC                                                              Contingent
          P.O. Box 89492                                                        Unliquidated
          Cleveland, OH 44101                                                   Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Collections
          Last 4 digits of account number       6394
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $940.00
          Ohio Heating                                                          Contingent
          P.O. Box 91203                                                        Unliquidated
          Columbus, OH 43209                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Collections
          Last 4 digits of account number       Beliro
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,025.38
          Roose Company                                                         Contingent
          5211 Trabue Rd.                                                       Unliquidated
          Columbus, OH 43228                                                    Disputed
          Date(s) debt was incurred      2019                                Basis for the claim:    Collections
          Last 4 digits of account number       3402
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $255,528.00
          Russell & High LLC                                                    Contingent
          930 N. High St.                                                       Unliquidated
          Columbus, OH 43201                                                    Disputed
          Date(s) debt was incurred      2017                                Basis for the claim:    Rental Space Lease
          Last 4 digits of account number       3402
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $534.23
          Spectrum Business                                                     Contingent
          P.O. Box 916                                                          Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       3402
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $237.73
          Sysco                                                                 Contingent
          5550 Blazer Pkwy, Ste. 300                                            Unliquidated
          Dublin, OH 43017                                                      Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       3402
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,628.39
          U.S. Bank                                                             Contingent
          P.O. Box 790185                                                       Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number       7493
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 5
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 Debtor       The Belgian Wafle Iron LLC                                                              Case number (if known)
              Name

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,815.76
           Union Bank                                                           Contingent
           1410 Bellefontaine Ave                                               Unliquidated
           Lima, OH 45804                                                       Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Bank Fees
           Last 4 digits of account number      3986
                                                                             Is the claim subject to offset?       No     Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $350,000.00
           Union Bank                                                           Contingent
           1410 Bellefontaine Ave                                               Unliquidated
           Lima, OH 45804                                                       Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Collections
           Last 4 digits of account number      9568
                                                                             Is the claim subject to offset?       No     Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Windsor Construction Services LLC                                    Contingent
           522 N. State St.                                                     Unliquidated
           Westerville, OH 43082
                                                                                Disputed
           Date(s) debt was incurred 2020
                                                                                             Collections
                                                                             Basis for the claim:
           Last 4 digits of account number 1124                              For Notice Purposes Only
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         9,628.64
 5b. Total claims from Part 2                                                                            5b.   +    $                       909,240.53

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          918,869.17




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Sanitizing Equipment and
             lease is for and the nature of               Rugs.
             the debtor's interest

                  State the term remaining                27 months
                                                                                       Cintas
             List the contract number of any                                           1275 Research Rd.
                   government contract                                                 Columbus, OH 43230


 2.2.        State what the contract or                   Dishwasher Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                27
                                                                                       Eco Lab
             List the contract number of any                                           P.O. Box 32027
                   government contract                                                 New York, NY 10087


 2.3.        State what the contract or                   Restaurant Lease Space
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                9 yr.
                                                                                       Russell & High LLC
             List the contract number of any                                           930 N. High St.
                   government contract       3402                                      Columbus, OH 43201




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         The Belgian Wafle Iron LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re       The Belgian Wafle Iron LLC                                                                       Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     800.00
             Prior to the filing of this statement I have received                                        $                     800.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                 agreements and applications as needed; Representation of Debtor(s) at 341 Meeting of Creditors and confirmation
                 hearings.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 10, 2020                                                               /s/ Ronald A. Wittel, Jr.
     Date                                                                        Ronald A. Wittel, Jr. 0078689
                                                                                 Signature of Attorney
                                                                                 Ronald A. Wittel, Jr.
                                                                                 Attorney at Law
                                                                                 1141 South High St.
                                                                                 Columbus, OH 43206
                                                                                 (614) 445-3000 Fax: (614) 449-9780
                                                                                 rwittel3@yahoo.com
                                                                                 Name of law firm




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                         ADT Security
                         P.O. Box 37878
                         Pittsburgh, PA 15250

                         Aimee Harper
                         596 Catawba Ave.
                         Westerville, OH 43081

                         American Express
                         P.O. Box 0001
                         Los Angeles, CA 90096

                         Bohicket Investments LLC
                         8530 Preston Mill Ct.
                         Dublin, OH 43017

                         Brandon Harper
                         596 Catawba Ave.
                         Westerville, OH 43081

                         Cintas
                         1275 Research Rd.
                         Columbus, OH 43230

                         City of Columbus Department of Pub. Util
                         910 Dublin Rd.
                         Columbus, OH 43215

                         City of Columbus License Section(Alarm)
                         4252 Groves Rd.
                         Columbus, OH 43232

                         Columbia Gas
                         P.O. Box 4629
                         Carol Stream, IL 60197

                         Eco Lab
                         P.O. Box 32027
                         New York, NY 10087

                         Erie Insurance
                         100 Erie Insurance Place
                         Erie, PA 16530

                         Franklin County Court of Common Pleas
                         Civil Division
                         345 South High St., 1st Floor
                         Columbus, OH 43215

                         Green Sky
                         P.O. Box 2153
                         Birmingham, AL 35287
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                     High Street Limited Partnership
                     930 N. High St.
                     Columbus, OH 43201

                     IRS- Bankruptcy Division
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346

                     LAZ Parking
                     15 Lewis St., 5th Fl.
                     Hartford, CT 06103

                     Ohio BWC
                     P.O. Box 89492
                     Cleveland, OH 44101

                     Ohio Department of Taxation
                     P.O. Box 2678
                     Columbus, OH 43216

                     Ohio Heating
                     P.O. Box 91203
                     Columbus, OH 43209

                     Roose Company
                     5211 Trabue Rd.
                     Columbus, OH 43228

                     Russell & High LLC
                     930 N. High St.
                     Columbus, OH 43201

                     Spectrum Business
                     P.O. Box 916
                     Carol Stream, IL 60132

                     Sysco
                     5550 Blazer Pkwy, Ste. 300
                     Dublin, OH 43017

                     U.S. Bank
                     P.O. Box 790185
                     Saint Louis, MO 63179

                     Union Bank
                     1410 Bellefontaine Ave
                     Lima, OH 45804

                     Windsor Construction Services LLC
                     522 N. State St.
                     Westerville, OH 43082
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                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      The Belgian Wafle Iron LLC                                                                     Case No.
                                                                                    Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The Belgian Wafle Iron LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 10, 2020                                                         /s/ Ronald A. Wittel, Jr.
 Date                                                                  Ronald A. Wittel, Jr. 0078689
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for The Belgian Wafle Iron LLC
                                                                       Ronald A. Wittel, Jr.
                                                                       Attorney at Law
                                                                       1141 South High St.
                                                                       Columbus, OH 43206
                                                                       (614) 445-3000 Fax:(614) 449-9780
                                                                       rwittel3@yahoo.com




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